               THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:06-cr-00005-MR-11


UNITED STATES OF AMERICA,       )
                                )
                                )
         vs.                    )                     ORDER
                                )
                                )
CASEY DILLON WOOD.              )
_______________________________ )


      THIS MATTER is before the Court sua sponte.

      The Defendant was sentenced by this Court on February 5, 2007 to a

term of 87 months’ imprisonment and four years of supervised release. As

part of the pronouncement of sentence, this Court specifically ordered

Defendant to pay a total of $3,077.19 in restitution.        [See Sentencing

Transcript, Doc. 249 at 12]. The written Judgment entered on February 22,

2007, erroneously states the restitution amount owed to be $8,055.69.

[See Judgment, Doc. 209 at 4].

      Rule 36 of the Federal Rules of Criminal Procedure provides: “After

giving any notice it considers appropriate, the court may at any time correct

a clerical error in a judgment, order, or other part of the record, or correct

an error in the record arising from oversight or omission.” Fed. R. Crim. P.



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36. The Court finds that the amount of restitution stated in the Judgment is

the result of a clerical error and must be corrected.

      Accordingly, IT IS, THEREFORE, ORDERED that the Clerk of Court

is respectfully directed to prepare an Amended Judgment stating the

correct amount of restitution ordered, $3,077.19.

      IT IS SO ORDERED.        Signed: July 10, 2013




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